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                              EXHIBIT 222
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     1                 UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3                                - - -
     4    IN RE:    NATIONAL                   )
          PRESCRIPTION                         )   MDL No. 2804
     5    OPIATE LITIGATION                    )
          ___________________________ )            Case No.
     6                                         )   1:17-MD-2804
          THIS DOCUMENT RELATES                )
     7    TO ALL CASES                         )   Hon. Dan A. Polster
     8                                - - -
     9                 THURSDAY, NOVEMBER 15, 2018
    10         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                           CONFIDENTIALITY REVIEW
    11
                                      - - -
    12
    13              Videotaped deposition of Mark Hartman,
    14    held at the offices of BakerHostetler, 200 Civic
    15    Center Drive, Suite 1200, Columbus, Ohio, commencing
    16    at 9:06 a.m., on the above date, before Carol A. Kirk,
    17    Registered Merit Reporter and Notary Public.
    18
    19                                - - -
    20
    21
    22
    23                  GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
    24                         deps@golkow.com

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     1    least according to the e-mail, when?

     2              A.      December 19, 2007.

     3              Q.      Okay.     And let me ask, had you

     4    left Cardinal for a brief period at that point?

     5              A.      Hadn't left.       We were going

     6    through a reorganization.           My position was being

     7    eliminated, the one I was in previously, so we

     8    were looking for roles inside of the company and

     9    I was looking externally as well.

    10                      This position became available,

    11    and Cardinal offered it to me.            So there was

    12    about a month in there between that role ending

    13    that I was in and then this role coming up.

    14              Q.      So were you actually unemployed

    15    during that time?

    16              A.      No, I was still a Cardinal

    17    employee.

    18              Q.      You just didn't have a spot?

    19              A.      That's right.

    20              Q.      Fair enough.       Fair enough.

    21                      And if you will, read the first

    22    sentence for us.

    23              A.      Of the announcement?

    24              Q.      Yes, sir.

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     1              A.      "We are pleased to announce the

     2    appointment of Mark Hartman to the position of

     3    Senior Vice President, Supply Chain Integrity

     4    and Regulatory Operations for HSCS reporting to

     5    both of us."

     6              Q.      And "both of us" indicates who?

     7              A.      And -- let's see.

     8              Q.      If you look at the front section.

     9              A.      So that's Jeff Henderson and

    10    Gary Dolch.

    11              Q.      And who is Mr. Henderson; do you

    12    know?

    13              A.      Yes.    He's the -- he was the chief

    14    financial officer at the time and the interim

    15    CEO.

    16              Q.      And the CEO for Healthcare Supply

    17    Chain Services, correct?

    18              A.      HS -- yeah, yes, that's correct.

    19              Q.      The acronym that we were

    20    struggling with earlier?

    21              A.      Correct.

    22              Q.      And who is Mr. Dolch?

    23              A.      EVP quality and regulatory

    24    affairs.

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     1    says, "Media reports of OxyContin abuse and

     2    diversion began to surface in 2000.              These

     3    were -- reports first appeared in rural areas of

     4    some states, generally in the Appalachian

     5    region, continued to spread to other rural areas

     6    and larger cities in several states.              Rural

     7    communities in Maine, Kentucky, Ohio,

     8    Pennsylvania, Virginia, and West Virginia were

     9    reportedly being devastated by the abuse and

    10    diversion of OxyContin."

    11                      And then if we go on to the next

    12    page, sir, about halfway down, that first

    13    paragraph, "The media also reported on deaths

    14    due to OxyContin.        For example, a newspaper's

    15    investigation of autopsy reports involving

    16    oxycodone-related deaths found that OxyContin

    17    had been involved in over 200 overdose deaths in

    18    Florida since 2000."

    19                      Were you aware, sir, that there

    20    were certain parts of the country that were

    21    being affected more significantly than other

    22    parts of the country when it came to the opioid

    23    epidemic?

    24              A.      During what time period?

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